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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

MAZIN BADAWI,                              )
                                           )
                                           )
                    Plaintiff,             )
       v.                                  ) No. 1:22-cv-706 (LMB/WEF)
                                           )
UR M. JADDOU, Director, United States      )
Citizenship & Immigration Services, et al. )
                                           )
                                           )
                    Defendants.            )
__________________________________________)

                   CONSENT MOTION FOR ENLARGEMENT OF TIME

       Defendants, Ur M. Jaddou, Director, United States Citizenship & Immigration Services

(“USCIS”), et al., by and through undersigned counsel, hereby respectfully move – with

Plaintiff’s consent – this Court for an enlargement of time in which to respond to Plaintiff’s

Complaint. The grounds for this motion are set forth in further detail below.

       1.      Plaintiff brings the instant civil action seeking to compel USCIS to adjudicate

Plaintiff’s application for naturalization. (Dkt. No. 1).

       2.      Plaintiff served the Complaint in this action via certified mail dated June 24,

2022; as such, pursuant to Federal Rule of Civil Procedure 12(a)(2), Defendants’ answer and/or

responsive pleading is due on August 23, 2022.

       3.      USCIS has been working to adjudicate Plaintiff’s application. In order to allow

adequate time for USCIS to complete the adjudication, Defendants seek a 30-day extension, until

September 23, 2022, to respond to Plaintiff’s complaint.

       4.      Plaintiff consents to the relief requested herein.

       5.      A proposed Order is provided for the convenience of the Court.
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Dated: August 23, 2022                     Respectfully submitted,

                                           JESSICA D. ABER
                                           UNITED STATES ATTORNEY

                                                      /s/
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